     Case 3:23-cv-01729-LL-VET     Document 31 Filed 01/23/24        PageID.1008     Page 1
                                            of 2


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 8                             UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    RONNIE BROOKS, et al., individually,                Case No.: 23cv1729-LL-VET
      and on behalf of all others similarly
12
      situated; and DOES 1 through 100                    ORDER SETTING DEADLINE TO
13    inclusive,                                          MEET AND CONFER AND FILE
                                        Plaintiffs,       JOINT STATUS UPDATE
14
15    v.
16    GREYSTAR REAL ESTATE
      PARTNERS, LLC, a Delaware Limited
17
      Liability Company, et al.,
18                                   Defendants.
19
20         On January 19, 2024, Plaintiff voluntarily dismissed four hundred and seventy-eight
21   Defendants in this case. ECF No. 30. Accordingly, the Court finds it appropriate to
22   ORDER the parties to meet and confer on or before January 26, 2024 regarding the most
23   efficient way to proceed in this case in light of the procedural posture. On or before
24   January 29, 2024, the parties are ORDERED to file a Joint Status Update that includes:
25   (1) a summary of the current parties to this case; (2) a joint proposed briefing schedule if
26   Defendants Greystar Real Estate Partners, LLC and Greystar California, Inc. intend to
27   refile their Motion to Dismiss (ECF No. 13) and/or Motion to Compel Arbitration (ECF
28   No. 12) and/or other intended filings anticipated by the parties at this time; and (3) a joint

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                                                                                    23cv1729-LL-VET
     Case 3:23-cv-01729-LL-VET    Document 31 Filed 01/23/24    PageID.1009    Page 2
                                           of 2


 1   update regarding settlement discussions and the parties’ positions regarding whether a
 2   settlement conference would be beneficial at this time.
 3         Upon receipt of the parties’ filing, the Court will issue a briefing schedule as
 4   necessary.
 5         IT IS SO ORDERED.
 6   Dated: January 23, 2024
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